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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,




                                                               Hon. Hugh B. Scott
                      v.

                                                                 10CR360A(JJM)

                                                                    Report
 RICO VENDETTI,                                                       &
 DAYON SHAVER, et al.,                                          Recommendation

                                Defendants.


       This matter has been referred to the undersigned pursuant to 28 U.S.C. § 636(b)(1)(C)

(Docket No. 268) for consideration of one portion of the motion by defendant Dayon Shaver to

suppress the fruits of a November 2, 2010, search of the upper apartment at 1160 North

Goodman Street, Rochester, New York (Docket No. 130, Def. Atty. Affirm. ¶¶ 25-41). Other

relief sought in his omnibus motion (as well as motions by codefendants joining in this relief)

remain for consideration by Magistrate Judge Jeremiah McCarthy.

       The Government filed an omnibus response to this and codefendants’ motions (Docket

No. 138). On June 27, 2012, oral argument was held on this motion before Magistrate Judge

McCarthy. Shaver’s counsel insisted that another Magistrate Judge consider this motion because

Magistrate Judge McCarthy issued the search warrant at issue in this motion (Docket No. 263).

Following referral of this particular motion to the undersigned (Docket No. 268), further

argument was held on August 21, 2012, and this Court reserved decision (text minute entry,

Aug. 21, 2012).
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                                         BACKGROUND

        Shaver is charged with conspiracy to defraud the United States, in violation of 18 U.S.C.

§ 371(f), in a Second Superseding Indictment (Docket No. 208). Count 5 of that Indictment

alleges a conspiracy to transport stolen merchandise in interstate and foreign commerce, in

violation of 18 U.S.C. § 2314, involving Shaver and others. Shaver allegedly conspired with the

other defendants to transport stolen goods from Target, JoAnn Fabrics, Wal-Mart and other

stores (id., Count 5). While others allegedly stole the items, Shaver allegedly purchased the

stolen goods and “took steps to offer the merchandise for sale” using multiple eBay accounts (id.,

Count 5, D., E. 5.), selling to persons in other states and packaging the merchandise for shipping

(id., Count 5, E. 6.).

        On October 27, 2010, Magistrate Judge McCarthy issued a search warrant to search

1160 North Goodman Street, Rochester, New York, which was executed by the Federal Bureau

of Investigation on November 2, 2010 (Docket No. 130, Def. Atty. Affirm. ¶ 25). 1160 North

Goodman Street is a building owned by codefendant Rico Vendetti containing a business (Al’s

Green Tavern) and an apartment owned by Vendetti (id. ¶¶ 26-27) but the apartment was shared

by Shaver (id. ¶ 28). Among the items seized pursuant to that warrant were two desktop

computers and one laptop computer which contained information about an eBay account in the

Shaver’s name (id. ¶ 30).

        Shaver contends the basis for the search of the upper apartment of 1160 North Goodman

was a declaration of a confidential informant, who stated that the informant observed alleged

associates of Vendetti enter the business on the first floor (id. ¶¶ 32-33). She argues that the rest

of the warrant application “relies upon the declarations of various alcoholics, crack addicts, state


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parolees, state prison inmates and petty thieves to establish the probable cause to inter alia search

the upper apartment at 1160 North Goodman Street . . . ,” (id. ¶ 35) and the information from

codefendant Arlene Combs (id. ¶ 36). Shaver concludes that this is insufficient to establish

probable cause (id. ¶ 37). Absent corroboration, Shaver argues that there was no information to

verify the informants’ statements (id. ¶¶ 40, 39).

        The Government concedes that Shaver has standing to contest this warrant to search the

upper apartment but she fails to allege standing to contest the search of the rest of the premises

(Docket No. 138, Gov’t Response at 45). Resting upon the good faith execution of a facially

valid search warrant, see United States v. Leon, 468 U.S. 897 (1984), the Government argues that

suppression is not required even if the credibility of the informants is suspect (id.), see also

United States v. Clark, 638 F.3d 89 (2d Cir. 2011) (despite defect in warrant, good faith

exception applies to deny suppression).

        Shaver moved (among other relief sought) to suppress (Docket No. 130) and noticed that

this motion continued with the Second Superseded Indictment (Docket No. 230; see also Docket

No. 208, 2d Superseding Indict.).

                                            DISCUSSION

        Shaver contends that there was no probable cause to search the upper apartment of

1160 North Goodman Street (Docket No. 130, Def. Atty. Affirm. ¶ 37). She argues that the tips

of criminal informants deserve special scrutiny because of concerns of informants concocting

stories for their personal benefit (id. ¶ 38).

        The Government argues that, despite whatever defects in the warrant, Leon good faith

should preclude suppression (Docket No. 138, Gov’t Response at 45-46).


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I.      Standing

        As for standing, neither party stated where the two desktop computers and one laptop

computer with the eBay account information was found. If they were located in the upper

apartment, Shaver would have standing to contest the search. But codefendant Combs stated to

an FBI agent that Vendetti’s upstairs office had at least two computers (Docket No. 130, Def.

Atty. Affirm., Ex. A, Aff. of special agent Michael McElhenny ¶¶ 23, 26), and not the apartment

shared by Shaver. Agent McElhenny in his application affidavit later states that the upper

apartment was a hub “albeit a lesser hub” of Vendetti’s criminal activities (id. ¶ 38), whereas

Vendetti’s office was the main hub (id. ¶39). The focus of the search regarding the computer

would be in the office, where Shaver has not established any standing. Thus, it is not clear

Shaver has standing to challenge the search warrant if the incriminating material was found in

computers in Vendetti’s office and not in their apartment. On this basis, Shaver’s motion to

suppress materials found other than in her upper apartment should be denied.

        Since the record is not clear where these computers (particularly the laptop computer)

were located (Vendetti’s office or the apartment), this Court next considers Shaver’s motion

pertaining to the probable cause determination for issuance of the warrant or good faith reliance

upon its validity by the agents.

II.     Probable Cause

        In order to issue a search warrant, a Magistrate Judge should be presented facts sufficient

to show probable cause to believe evidence of criminal activity will be found in a particular

location to be searched, United States v. Salameh, 152 F.3d 8, 112-13 (2d Cir. 1998). The

determination of probable cause for issuing a search warrant is based upon the totality of


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circumstances, but the totality “must present the magistrate with ‘[s]ufficient information . . . to

allow that official’ to make the necessary determinations; ‘his action cannot be a mere ratification

of the bare conclusions of others.’ Illinois v. Gates, 462 U.S. [213,] 239 [(1983)],” United States

v. Clark, 638 F.3d 89, 97 (2d Cir. 2011) (emphasis in original removed). The totality of

circumstances includes the veracity and basis of knowledge of persons supplying hearsay

information to the affiant applying for the warrant, Gates, supra, 462 U.S. at 238; United States

v. Love, No. 10CR6116, 2012 U.S. Dist. LEXIS 67385, at *20 (W.D.N.Y. May 14, 2012)

(Payson, Mag. J.). A Court reviewing a challenged warrant “‘must accord considerable

deference to the probable cause determination of the issuing magistrate,’” Clark, supra, 638 F.3d

at 93 (quoting Walczyk v. Rio, 496 F.3d 139, 157 (2d Cir. 2007)).

       Given the deference to be accorded to the initial probable cause determination and the

totality of circumstances, there was sufficient probable cause to search the upper apartment. The

informants Shaver now challenges were thieves who brought their stolen goods to 1160 North

Goodman. At least one of these informants was corroborated by agents from their information in

prior investigations (e.g., Docket No. 130, Ex. A, McElhenny Aff. ¶ 15). The number of these

informants goes beyond reliance upon a single individual of questionable credibility.

Codefendant Combs gave the layout of 1160 North Goodman, indicating what was in the upper

floor of that building (id. ¶ 23) and the use of the upper office as the hub of Vendetti’s operations

(id. ¶¶ 40, 38). Shaver’s motion to suppress based upon the absence of probable cause should be

denied.




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III.     Leon Good Faith

         The Government, however, almost concedes that the warrant is invalid and falls back

upon good faith reliance upon that warrant by the agents under Leon. Therefore, the key

argument is whether, despite the credibility issues raised surrounding these informants, could the

FBI agents rely upon an otherwise facially valid search warrant. Under Leon, there is an

exception to the exclusionary rule where there is “evidence obtained in objectively reasonable

reliance on a subsequently invalidated search warrant,” 468 U.S. at 922, to avoid penalizing the

police officer or agent “for the magistrate’s error,” id. at 921; see Clark, supra, 638 F.3d at 99-

100. The burden is on the Government to demonstrate the objective reasonableness of the

officers’ good faith reliance on a invalidated warrant, Clark, supra, 638 F.3d at 100 (quoting

United States v. George, 975 F.2d 72, 77 (2d Cir. 1992); United States v. Santa, 180 F.3d 20, 25

(2d Cir. 1999)), but most searches conducted pursuant to a warrant “likely fall within its

protection,” Clark, supra, 638 F.2d at 100.

         Leon recognizes four instances when the presumption of reasonableness would not apply,

where the issuing magistrate was knowingly misled; where the magistrate “wholly abandoned his

or her judicial role”; where the application is “so lacking in indicia of probable cause as to render

reliance upon it unreasonable”; and where the warrant was so facially deficient that reliance upon

it would be unreasonable, United States v. Moore, 968 F.2d 216, 222 (2d Cir. 1992); Clark,

supra, 638 F.3d at 100.

         Here, there only indication that Magistrate Judge McCarthy may have been mislead is the

credibility of the informants (including one codefendant) presented in support of the search

warrant. That same ground could be used to show that the application lacked indicia of probable


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cause to render reliance upon it unreasonable. There is no assertion that Magistrate Judge

McCarthy wholly abandoned his judicial role, see also Clark, supra, 638 F.3d at 100 (construing

abandonment of judicial role), or that the warrant was so facially deficient (that is, failing to

particularize the place to be searched or items seized, id., at 101, quoting Leon, supra, 468 U.S. at

923) that reliance would be unreasonable.

          As for being possibly misled, Shaver does not show (despite the credibility dispute she

has with the informants and at least one codefendant) how Magistrate Judge McCarthy was

misled.

          As for the ground of the indicia of probable cause, the Second Circuit in Clark found that

the warrant application there went beyond bare bones assertions, but only asserted control of the

premises in a conclusory manner where the premises to be searched was a multi-unit property,

638 F.3d at 103-05. But, as found above, there are indicia of probable cause for this warrant,

despite the credibility issues surrounding the informants.

                                           CONCLUSION

          Based upon the above, it is recommended that so much of defendant Dayon Shaver’s

motion (Docket No. 130) to suppress the fruits of a November 2, 2010, search of the upper

apartment at 1160 North Goodman Street, Rochester, New York (id., Def. Atty. Affirm. ¶¶ 25-

41) be denied.



          Pursuant to 28 U.S.C. § 636(b)(1), it is hereby ordered that this Report &

Recommendation be filed with the Clerk of the Court and that the Clerk shall send a copy of the

Report & Recommendation to all parties.


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       ANY OBJECTIONS to this Report & Recommendation must be filed with the Clerk

of this Court within fourteen (14) days after receipt of a copy of this Report &

Recommendation in accordance with 28 U.S.C. § 636(b)(1), Fed. R. Cr. P. 59(b) (2)

(effective December 1, 2009) and W.D.N.Y. Local Criminal Rule 58.2(a) (3).

       FAILURE TO FILE OBJECTIONS TO THIS REPORT & RECOMMENDATION

WITHIN THE SPECIFIED TIME OR TO REQUEST AN EXTENSION OF SUCH TIME

WAIVES THE RIGHT TO APPEAL ANY SUBSEQUENT DISTRICT COURT’S

ORDER ADOPTING THE RECOMMENDATIONS CONTAINED HEREIN. Thomas v.

Arn, 474 U.S. 140 (1985); F.D.I.C. v. Hillcrest Associates, 66 F.3d 566 (2d Cir. 1995); Wesolak

v. Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

       The District Court on de novo review will ordinarily refuse to consider arguments, case

law and/or evidentiary material which could have been, but was not, presented to the Magistrate

Judge in the first instance. See Patterson-Leitch Co. Inc. v. Massachusetts Municipal Wholesale

Electric Co., 840 F.2d 985 (1st Cir. 1988).

       Finally, the parties are reminded that, pursuant to W.D.N.Y. Local Criminal Rule

58.2(a)(3), “written objections shall specifically identify the portions of the proposed findings

and recommendations to which objection is made and the basis for such objection and shall be




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supported by legal authority.” Failure to comply with the provisions of Rule 58.2(a)(3) may

result in the District Court’s refusal to consider the objection.

       SO ORDERED.

                                                              /s/ Hugh B. Scott
                                                                  Hon. Hugh B. Scott
                                                           United States Magistrate Judge

Dated: Buffalo, New York
       September 12, 2012




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